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                          UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW HAMPSHIRE
                               WARREN B . RUDMAN U .S . COURTHOUSE
                                        55 PLEASANT STREET
                               CONCORD, NEW HAMPSHIRE 03301-394 1


Office of the Clerk                        Telephone
  James R . Starr                                                                        603-225-1423
  Clerk




                                      September 18, 200 8



    In re : Civil No. 08-cv-281-JL, Diane Devine Mizusawa v. High Liner Foods (USA),
              Incorporated

       To : Clerk, Rockingham County Superior Court
                Formerly your case #(s) : 08-E-032 2




        By Court order, the above case was remanded to your court . We enclose a certified copy
of the order and docket entries .

       Counsel/pro se parties are herewith notified by copy of this letter that no pleadings (or
copies of pleadings) filed in our court are being sent to the Superior Court. If there are
outstanding issues which counsel/pro se parties wish the Superior Court to consider, copies of
such pleadings shall be refiled with the Superior Court Clerk.

        Orders of remand are not reviewable on appeal or otherwise, 28 U.S.C. § 1447(d), except
in certain civil rights cases described in 28 U .S .C. § 1443, 28 U .S.C. § 1447(d), cl ass actions
within the meaning of 28 U.S.C. § 1453(c)(1), and ce rtification decisions regarding whether a
federal employee named in a tort action was acting within the scope of employment pursuant to
28 U.S .C. § 2679 . See Osborn v. Haley, 549 U .S . 225 (2007) .

                                                 JAMES R . STARR
                                                 CLERK

Enclosures

cc : Ralph Woodman, Jr ., Esq .
       Amy Celeste Mackin, Esq .
       Christopher Cole, Esq.
       Karyl Roberts Martin, Esq .
